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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,           ) Case No.: 1:13-CR-00077-LJO
                                         )
11             Plaintiff,                )
                                         )
12       vs.                             ) STIPULATION AND ORDER
                                         ) PERMITTING DEFENDANT TO
13                                       ) TRAVEL TO THE NORTHERN
                                         ) DISTRICT OF CALIFORNIA
14                                       )
     ROBERT MURGUIA MARTINEZ,            )
15                                       )
               Defendant.                )
16

17       On February 26, 2013, defendant Robert Martinez made his
18   initial appearance before this Court on an indictment filed in
19   the Eastern District of California charging him with
20   conspiracy to possess with intent to distribute
21   methamphetamine.     Mr. Martinez was released on his own
22   recognizance and in the custody of a third party, Ms. Esther
23   Martinez, under conditions set by this Court. Two such
24   conditions are that the Defendant may not travel outside of
25   Tulare, Kern, Kings, Fresno, and Madera Counties without the
26   Court’s permission and is participating in Home Detention with
27   GPS tracking.
28

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         Stipulation and Order to Travel to the Northern District of California
                              CASE NO.: 1:13-CR-00077-LJO
       Case 1:13-cr-00077-LJO-BAM Document 33 Filed 03/12/13 Page 2 of 3


 1       Mr. Martinez’s sister, Esther Martinez, is scheduled to
 2   have a Hernia Repair operation at UCSF Medical Center on
 3   Tuesday, March 19, 2013.        Mr. Martinez wishes to travel by car
 4   to San Francisco with his custodian and other siblings for
 5   this operation.
 6       The City of San Francisco is in the Northern District of
 7   California and is outside the travel restrictions under Mr.
 8   Martinez’s current conditions of release. United States
 9   Pretrial Services Officer Dan Stark has advised defense
10   counsel that he does not object to a modification of Mr.
11   Martinez’s release conditions to permit him to travel to and
12   from the Northern District of California provided that he
13   first obtain permission from the Court and complies with any
14   restrictions that Pretrial Services may impose on such travel.
15       Accordingly, the parties agree and stipulate that Mr.
16   Martinez’s conditions of release should be modified as
17   follows:   Mr. Martinez shall be permitted to travel by car to
18   and from the Northern District of California, on Monday, March
19   18, 2013, and returning on Wednesday, March 20, 2013, with the
20   advance permission of, and as directed by, Pretrial Services.
21       IT IS SO STIPULATED.
22
     Dated: March 12, 2013                   /s/ Kimberly Sanchez __
23
                                             Assistant United States
24
                                             Attorney

25
     Dated: March 12, 2013                   /s/ Anthony P. Capozzi
26
                                             Anthony P. Capozzi
27
                                             Attorney for
                                             ROBERT MURGUIA MARTINEZ
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         Stipulation and Order to Travel to the Northern District of California
                              CASE NO.: 1:13-CR-00077-LJO
                           Case 1:13-cr-00077-LJO-BAM Document 33 Filed 03/12/13 Page 3 of 3


 1                                                           ORDER
 2

 3                            For reasons set forth above, the Defendant’s conditions
 4   of pretrial release shall be modified as follows: The
 5   Defendant shall be permitted to travel by car to and from the
 6   Northern District of California, on Monday, March 18, 2013,
 7   and returning on Wednesday, March 20, 2013, with the advance
 8   permission of, and as directed by, Pretrial Services. All
 9   other conditions shall remain in effect.
10

11

12
     IT IS SO ORDERED.
13

14                         Dated:   March 12, 2013                      /s/ Gary S. Austin
                                                               UNITED STATES MAGISTRATE JUDGE
15   DEAC_Signature-END:




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                              Stipulation and Order to Travel to the Northern District of California
                                                   CASE NO.: 1:13-CR-00077-LJO
